










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS






SERGIO MARTIN CARDENAS, 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.


DORA LUZ CARDENAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-11-00070-CV

Appeal from the

383rd Judicial District Court

of El Paso County, Texas 

(TC# 2008CM210) 






MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pending before the Court is Appellant’s motion to non-suit notice of appeal, which we
construe as a motion to dismiss.  The motion is granted, and this appeal is dismissed.  See
Tex.R.App.P. 42.1(a)(1).  Costs of appeal are assessed against Appellant.  See Tex.R.App.P.
42.1(d).


June 29, 2011
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.


